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The Honorable Robert J. Bryan

UNITED S'I`ATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
CHAO CHEN, individually and on behalf of
all those similarly situated, No. 3:17-cv-05769-RJB
Plaintiff, DECLARATION OF CHAO
CHEN IN SUPPORT OF
v. PLAINTIFF’S MOTION FOR

CLASS CERTIFICATION
THE GEO GROUP, INC., a Florida
corporation,

Defendant.

 

 

 

I, CHAO CHEN, declare as follows:

l. I am over the age of eighteen, competent to testify in this matter, and do so
based on personal knowledge

2. I am a citizen of the People’s Republic of China, but have been a lawful
permanent resident of the United States since the 1980s.

3. I entered the Northwest Detention Center (“NWDC”) as a civil immigration
detainee on or about October 21, 2014. U.S. Immigration and Custom Enforcement (“ICE”)

released me from NWDC on or about March l, 2016.

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CERTIFICATION (l7-CV-05769-RJB) - l

 

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4. Upon my entry to the NWDC, Defendant The GEO Group, Inc. (“GEO”)
issued me a “Detainee Handbook.” The Handbook is substantially the same as the one
attached to my declaration as Exhibit 1.

5. Also upon my arrival, I underwent an “NWDC Orientation” conducted by
GEO, during which I learned about the Voluntary Work Program, among other things.
Attached to my declaration as Exhibit 2 is a true and correct copy of the “Northwest
Detention Center Orientation Checklist” that I received from GEO dated October 22, 2014.

6. After learning about the VWP, I submitted a “Detainee Request Form” or
“kite” requesting work through the VWP. Attached to my declaration as Exhibit 3 is a true
and correct copy of the Detainee Request Form I submitted requesting work, dated
October 25, 2014.

7. About two months later, I received a work assignment and schedule. I
continued working in the VWP until my release. I worked virtually every day of my
detention, usually about an hour each shift. While at the NWDC, I typically worked the
swing and graveyard shifts as a Dayroom porter cleaning the common area, replenishing
supplies, and empting trash canisters. I also worked the graveyard shift as a bathroom porter
where I was responsible for cleaning toilets, sinks, sweeping and mopping floors,
replenishing supplies, and emptying waste bins. Attached as Exhibit 4 is a true and correct
redacted copy of an undated work assignment and schedule I receive from GEO during my
detention.

8. GEO supervised and controlled all aspects of my work, providing me with
training and the equipment I needed to perform my jobs at NWDC. Because of my detainee

status, GEO did not permit me to seek employment from another employer outside the walls

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CERTIFICATION (l7-CV-05769-RJB) - 2

 

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of the NWDC. Regardless of how many hours I worked in a day or week, I was never
compensated more than $l per day for my labor.

9. To the best of my knowledge, hundreds of detainees, if not more, took part in
the VWP while l was at NWDC. I believe that other detainees performed similar work
assignments, as well as jobs in food service, laundry, the library, the barbershop, and other
cleaning and maintenance type jobs. l am not aware of any other detainee receiving more
than $l per day for participating in the VWP.

10. I received a full and unconditional pardon for my 2002 criminal convictions
from Washington Governor J ay Inslee on December 20, 2016.

ll. I understand that I am bringing this case on behalf of all current and former
detaineeslat NWDC who participated in the VWP at any time since September 26, 2014, and
that I will be representing their interests in this case. I understand that my role in this case is
to help the lawyers get proper payment for wages for all the other detainees participating in
the VWP at NWDC since September 26, 2014, not just myself.

12. I understand the responsibilities involved in being both a plaintiff and a class
representative in this lawsuit. I am prepared to cooperate with my counsel and meet all of my
duties and obligations to make sure this lawsuit is pursued in the best interest of me and all
other current and former participants in the VWP at NWDC. I understand that this means that
l may be required to have my deposition taken by GEO’s lawyers and to respond to other
discovery.

13. I arn prepared to help prepare for and attend trial, to testify, and assist my

attorneys as needed and to continue to participate actively in the direction of this case.

DECLARATION oF cHAo CHEN IN sUPPoRT scHRoETER GoLDMARK & BENDER
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CERTIFICATION (l7-CV-05769-R.IB) - 3

 

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l declare under penalty of perjury under the laws of the United States that the

foregoing is true and correct and based on my personal knowledge

Executed in gag 1 2 /¢L_ , Washington, on 5[ 2 3 , 2018.

Chao Chen
DECLARATION oF cHAo cHEN 1N sUPPoRT scHRoETER GoLDMARK & BENDER
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CERTIFICATE OF SERVICE
I hereby certify that on March 23, 2018, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will send notification of such filing to

the following:

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Attorney for Defendant

DATED at Seattle, Washington this 23rd day of March, 2018.

DECLARATION OF CHAO CHEN IN SUPPORT
OF PLAINTIFF’S MOTION FOR CLASS
CERTIFICATION (l7-CV-05769-RJB) - 5

s/ Sheila Cronan

 

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